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               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



BCBSM, INC., et al.,                            Case No. 1:20-cv-01853

     Plaintiffs,
                                                 Honorable Virginia M. Kendall
                       v.                        Honorable Sheila M. Finnegan

WALGREEN CO. & WALGREENS BOOTS                   Related Cases:
ALLIANCE, INC.,                                  Case No. 1:20-cv-04738
                                                 Case No. 1:20-cv-03332
     Defendants.                                 Case No. 1:20-cv-01929
                                                 Case No. 1:20-cv-04940
                                                 Case No. 1:22-cv-01362
WALGREEN CO. & WALGREENS BOOTS
ALLIANCE, INC.,

      Third-Party Plaintiffs,

                       v.

PRIME THERAPEUTICS LLC & OMEDARX, INC.,

      Third-Party Defendants.




                                JOINT STATUS REPORT
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          Pursuant to the Court’s June 13, 2023, Order (ECF No. 458), the Initial Plaintiffs,1 the

Additional Plaintiffs,2 Defendant / Third-Party Plaintiff Walgreen Co. (“Walgreens”) and

Defendant Walgreens Boots Alliance, Inc. (together with Walgreens, “Defendants”), and Third-

Party Defendants Prime Therapeutics LLC (“Prime”) and OmedaRx, Inc. f/k/a Regence Rx, Inc.

(“OmedaRx”), through their respective counsel, respectfully submit the following Joint Status

Report.

    I.     The Current Deadlines Imposed by the Court and Whether the Matter Has
           Been Referred to the Magistrate Judge in Any Fashion

           A.     Deadline for the Close of Fact Discovery

          By order dated March 30, 2023 (ECF No. 436), the parties are to substantially complete

document production by two (2) months after the resolution of Walgreens’ pending motion to




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        BCBSM, Inc. (d/b/a Blue Cross and Blue shield of Minnesota); HMO Minnesota (d/b/a
Blue Plus); Health Options, Inc. (d/b/a Florida Blue HMO); Blue Cross and Blue Shield of North
Carolina; Blue Cross Blue Shield of North Dakota; Blue Cross and Blue Shield of Florida, Inc.
(d/b/a Florida Blue); Blue Cross and Blue Shield of Alabama; Blue Cross and Blue Shield of
Kansas, Inc.; Blue Cross and Blue Shield of Massachusetts, Inc.; Blue Cross and Blue Shield of
Massachusetts HMO Blue, Inc.; Wellmark, Inc. (d/b/a Wellmark Blue Cross and Blue Shield and
d/b/a Wellmark Blue Cross and Blue Shield of Iowa); Wellmark of South Dakota, Inc. (d/b/a
Wellmark Blue Cross and Blue Shield of South Dakota); Wellmark Health Plan of Iowa, Inc.;
Wellmark Synergy Health, Inc.; Wellmark Value Health Plan, Inc.; Blue Cross and Blue Shield of
Arizona, Inc. (d/b/a Blue Cross Blue Shield of Arizona and d/b/a AZBLUE); Asuris Northwest
Health; Blue Cross and Blue Shield of Kansas City, Inc.; Cambia Health Solutions, Inc.; Regence
BlueShield of Idaho, Inc.; Regence BlueCross BlueShield of Oregon; Regence BlueCross
BlueShield of Utah; Regence BlueShield; HealthNow New York, Inc.; Highmark Western New
York, Inc. (f/k/a Blue Cross of Western New York); Northeastern New York (f/k/a BlueShield of
Northeastern New York); Horizon Healthcare Services, Inc. (d/b/a Horizon Blue Cross Blue Shield
of New Jersey); and Horizon Healthcare of New Jersey, Inc. (d/b/a Horizon NJ Health).
2
        CareFirst of Maryland, Inc.; Group Hospitalization and Medical Services, Inc.; CareFirst
BlueChoice, Inc.; Blue Cross and Blue Shield of South Carolina; BlueChoice HealthPlan of South
Carolina, Inc.; Louisiana Health Service & Indemnity Company, d/b/a/ Blue Cross and Blue Shield
of Louisiana, and HMO Louisiana, Inc.


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compel (ECF No. 374),3 and fact discovery (including oral discovery) is to be completed three (3)

months following that substantial completion deadline.

         B.       Referral to Magistrate Judge

        On April 11, 2022, the Court referred this case to Magistrate Judge Sheila Finnegan for

general discovery supervision. (ECF No. 252.)

         C.       Expert Discovery

        By order dated March 30, 2023 (ECF No. 436), expert discovery is currently governed by

the following deadlines:

              •   Opening expert reports are due five (5) weeks following the end of fact

                  discovery;

              •   Rebuttal expert reports are due eight (8) weeks following opening expert

                  reports;

              •   Expert discovery closes seven (7) weeks following rebuttal expert reports.

         D.       Proposed Pre-Trial Scheduling Order and Dispositive Motions

        By order dated March 30, 2023 (ECF No. 436), the parties are to submit a proposed pre-

trial scheduling order, including deadlines for dispositive and pre-trial motions, one (1) week

following the close of expert discovery.

        On December 9, 2022, Third-Party Defendant OmedaRx filed a motion to dismiss the third-

party complaint (ECF No. 370) that the Court granted Walgreens leave to file on August 23, 2022




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       The currently operative scheduling order sets the substantial completion deadline at two
months after resolution of the last of two motions to compel that were pending when the scheduling
order was entered. The Court granted the second of those two motions (ECF No. 407) on May 31,
2023 (see ECF No. 453). The other motion remains pending before the Special Master appointed
by the Court. (ECF No. 450.)


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(ECF No. 319). On May 23, 2023, the Court denied OmedaRx’s motion to dismiss. (ECF No.

452). On June 13, 2023, OmedaRx filed its Answer to the third-party complaint. (ECF No. 459).

 II.    The Progress of Discovery

        A.      Document Production and Written Interrogatories

       As reported in previous Joint Status Reports, the parties are currently engaged in written

discovery and continue to produce documents and respond to written discovery requests,

including a new round of requests for production, interrogatories, and requests to admit served

on Walgreens by the Initial Plaintiffs on May 24, 2023. The parties have continued to engage

regarding ongoing discovery obligations and have exchanged letters over the course of the past

several months and weeks outlining concerns and expectations in this regard. There remain open

disputes regarding the scope of certain written discovery. Most significantly, Walgreens filed a

Motion to Compel Plaintiffs’ Document Discovery and Related Metrics on December 21, 2022,

regarding material gaps in the Initial Plaintiffs’ document productions. (ECF No. 374). On May

2, 2023, the Court appointed Dr. Maura Grossman as Special Master, pursuant to Federal Rule

of Civil Procedure 53, to assist the Court in resolving this motion. (ECF No. 450). The parties

expect Dr. Grossman to file her initial order, dictating the protocol by which Dr. Grossman will

diagnose any issues underlying the Initial Plaintiffs’ document collection, search, and review.

       As reported in prior Joint Status Reports, the Additional Plaintiffs and Defendants have

each served written discovery requests. Defendants have provided the Additional Plaintiffs with

the written and document discovery produced by Defendants before the Additional Plaintiffs

joined the case and served written responses and objections to the Additional Plaintiffs’ document

requests. The Additional Plaintiffs served Defendants written responses to Defendants’ discovery

requests on January 17, 2023. The parties have met, conferred, and agreed on the general scope




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of those written responses and negotiated the Additional Plaintiffs’ search parameters for their

custodial email review.

       Prime has responded to the written discovery requests that Walgreens served starting on

November 5, 2021, and Prime has produced certain documents, including documents that it

previously produced in other U&C pricing litigation. Prime continues to review documents for

potential production in response to Defendants’ requests.

       Counsel to OmedaRx and the Initial Plaintiffs indicated to Defendants’ counsel that

OmedaRx would not respond to the discovery requests that Defendants served on OmedaRx on

December 2, 2022, until the Court resolved OmedaRx’s pending motion to dismiss. OmedaRx

relied on the Court’s prior instruction to not move forward with discovery during pending

disputes over jurisdiction. (See November 18, 2022, Joint Status Report, ECF No. 357, at 4,

quoting 7/16/20 Hrg. Tr. at 13:7-9, 14:16-18). On May 23, 2023, the Court denied OmedaRx’s

motion to dismiss. (ECF No. 452). OmedaRx served written responses and objections to the

December 2022 discovery requests on June 23, 2023. OmedaRx has represented to Defendants

that documents responsive to Walgreens’ Requests for Production of Documents to OmedaRx

have previously been produced by the Cambia Plaintiffs.         Defendants are evaluating that

assertion.

         B.     Depositions of the Parties and Their Former and Current Employees

       Plaintiffs have taken depositions of one current and six former Walgreens employees.

Additionally, Plaintiffs have indicated their intent to depose one additional Walgreens employee.

       To date, Walgreens has neither taken, nor requested, the depositions of any Plaintiff or

Prime witness. As explained further below, Walgreens intends to take depositions only after

witnesses’ documents have been produced to Walgreens.




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         The Initial Plaintiffs / Counter-Defendants and Defendants have exchanged initial drafts

of topic lists for corporate representative depositions. Defendants have served objections to the

Initial Plaintiffs’ draft topic list. The Additional Plaintiffs and Defendants intend to exchange

initial drafts of topic lists in the coming weeks.

         Prime intends to take depositions of current or former Walgreens employees.

  III.     Other Third-Party Discovery

         The Initial Plaintiffs / Counter-Defendants have issued subpoenas to the following third-

party entities:

            •     National Council of Prescription Drug Programs, Inc.

            •     Pharmaceutical Care Management Association

            •     Costco Wholesale Corporation

            •     The Kroger Co.

            •     Elixir Rx Solutions, LLC

            •     GoodRx Holdings, Inc.

            •     Klix, LLC d/b/a Easy Drug Card

            •     Towers Administrators LLC d/b/a SingleCare Administrators

            •     NeedyMeds, Inc.

            •     U.S. Pharmacy Card, LLC

            •     Discount Drug Network, LLC

            •     Texas Health and Human Services

            •     Oregon Health Authority

            •     Connecticut Department of Social Services

         The Additional Plaintiffs have issued subpoenas to the following third-party entities:



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       •   Caremark, LLC

       •   Express Scripts, Inc.

       •   OptumRx, Inc.

       •   Walmart, Inc.

       •   Target Corporation

       •   WAGDCO, LLC

       •   MedImpact Healthcare Systems, Inc.

       •   Envolve Pharmacy Solutions Pharmacy Solutions, Inc.

       •   Leehar Distributors, LLC

       •   Medical Security Card Company, LLC

    Defendants / Counter-Plaintiff have issued subpoenas to the following third parties:

       •   Bretta Grinsteinner

       •   Blue Cross Blue Shield Association

       •   Caremark, LLC

       •   Express Scripts, Inc.

       •   MedImpact Healthcare Systems, Inc.

       •   OptumRx, Inc.

       •   Preferred Care Services, Inc.

       •   EPIC Pharmacy Network, Inc.

       •   Health Mart Atlas, LLC

       •   Wholesale Alliance, LLC

       •   Blue Cross and Blue Shield of Nebraska, Inc.




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 IV.    The Status of Discovery Motions

       As noted above, Defendants filed a Motion to Compel Plaintiffs’ Document Discovery

and Related Metrics on December 21, 2022. (ECF No. 374). Plaintiffs filed their response in

opposition on January 23, 2023. (ECF No. 400). Defendants filed their reply on February 9,

2023. (ECF No. 414). On May 2, 2023, the Court appointed Dr. Maura Grossman as Special

Master to decide Walgreens’ motion.           The parties have met and exchanged several

correspondence with Dr. Grossman regarding procedural and merits issues related to the motion

to compel. The Special Master and the parties discussed potential resolutions of the motion

during a phone call on June 13, 2023.

       Additionally, Defendants filed a second Motion to Compel Plaintiffs’ Discovery on

January 23, 2023. (ECF No. 407). The Court granted Walgreens’ motion in full on May 31,

2023, ordering the Initial Plaintiffs to promptly provide the applicable discovery responses. (ECF

No. 453). The Initial Plaintiffs have communicated that they intend to serve the compelled

discovery responses on or before July 28, 2023.

 V.      Whether the Parties Have Engaged or Are Engaging in Settlement Discussions

       The parties have not engaged in settlement discussions.

 VI.    Whether the Parties Believe a Telephonic Hearing or In-Person Hearing Is
        Necessary Within the Next 60 Days

       The parties do not anticipate the need for a hearing with the Court within the next 60 days.

       Pursuant to the Court’s May 25, 2022, Order (ECF No. 276), the parties shall continue to

provide joint status reports at 30-day intervals. Subject to the Court’s approval, the parties will

file the next status report by August 11, 2023.




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Dated: July 12, 2023                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Charles D. Zagnoli, an attorney authorized to practice before this Court, hereby

certify that the foregoing Join Status Report was electronically filed on July 12, 2023, and will

be served electronically via the Court’s ECF Notice system upon the registered parties and

counsel of record.



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